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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


JILL BABCOCK, et al.,                          Case No. 2:22-cv-12951

      Plaintiffs,                              HON. MARK A. GOLDSMITH

v.

STATE OF MICHIGAN, et al.,

      Defendants.

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                    NOTICE OF APPEARANCE OF COUNSEL

      Now comes the below undersigned counsel who gives notice that said attorney

is entering an appearance in this matter as counsel for all Plaintiffs. Please serve all

further notices and copies of pleadings, papers, and other relevant material upon the

undersigned.



Date: April 18, 2023                           Respectfully submitted,

                                               s/Elizabeth K. Abdnour
                                               Elizabeth K. Abdnour (P78203)
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